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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

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                              :
AUBREY NOVAK                  :         Civ. No. 3:14CV00153(AWT)
                              :
v.                            :
                              :
YALE UNIVERSITY               :         November 20, 2015
                              :
------------------------------x

 RULING RE: PLAINTIFF’S ORAL MOTION FOR EXTENSION OF SCHEDULING
    ORDER DEADLINES [DOC. #59] AND AMENDED SCHEDULING ORDER

     On November 19, 2015, this Court held an in-person case

management and discovery status conference on the record to

address discovery issues raised in the parties’ November 4,

2015, Joint Status Report. [Doc. #52]. Counsel for plaintiff

Aubrey Novak (“plaintiff”) and defendant Yale University

(“defendant”) participated in the conference. During the

conference, plaintiff orally moved for an extension of the

deadlines set forth in the scheduling order dated September 21,

2015. [Doc. ##46, 59]. After considering the arguments of

counsel, and as articulated below, the Court GRANTS, in part,

and DENIES, in part, plaintiff’s Oral Motion for Extension of

Scheduling Order Deadlines. [Doc. #59].

1. Oral Motion for Extension of Scheduling Order Deadlines

     Following an in-person status conference on September 21,

2015, on October 28, 2015, the undersigned entered an order

requiring the parties to file a joint status report on or before

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November 4, 2015, reporting whether the parties had met the

requirements of the Court’s September 21 scheduling order, and

identifying any issues that required resolution or court

intervention. [Doc. #51]. The parties complied, and filed their

joint status report on November 4, 2015, which indicated the

parties had met the October 30, 2015, deadline, but also

identified a number of issues with both parties’ discovery

responses. [Doc. #52].

    In light of these issues, the Court held an in-person case

management and discovery status conference on November 19, 2015.

[Doc. #55]. During this conference, the Court addressed the

issues raised in the parties’ November 4, 2015, joint status

report. Both plaintiff and defendant took issue with the other’s

written discovery responses and production (or lack thereof). In

response to defendant’s nineteen (19) requests for production,

plaintiff did not object and responded “see attached” to each.

[Doc. #57-1]. The “attached” documents consisted of three

emails, collectively attaching nearly five thousand documents,

none of which were bates stamped or otherwise organized in a

useable form. Some of these documents included emails in native

format and/or emails that had been pasted into word documents.

Plaintiff also responded to defendant’s sixteen (16)

interrogatories, with what constitute, upon the Court’s review,

in large part, insufficient responses. [Doc. #57-1].

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    Plaintiff also took issue with defendant’s responses to its

requests for production and interrogatories, the majority of

which were met with lengthy objections and no substantive

responses. Defendant in turn took issue with the form of the

plaintiff’s requests. Although defendant could have used better

efforts to respond to plaintiff’s written discovery requests,

the Court largely agreed with defendant that the requests are

overbroad as they are not limited in time or scope, and in that

regard, are not necessarily calculated to lead to the discovery

of admissible information.

    In addressing the best next steps to address the

substantial deficiencies in the written discovery, the Court

received the suggestions of counsel as to how to most

efficiently and expeditiously resolve the outstanding disputes.

Plaintiff’s counsel proposed an additional meet and confer with

defense counsel to address narrowing plaintiff’s written

discovery requests. Plaintiff suggested a thirty (30) day period

in which to submit amended written discovery requests, and sixty

(60) days in which to submit amended discovery responses,

including document production, to defendant. Defense counsel

stated that defendant would like thirty (30) days to respond to

plaintiff’s amended requests, and further expressed concern of

receiving another “document dump.”



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     The Court construes plaintiff’s proposal as an oral motion

to extend the current scheduling order deadlines, as the service

of amended requests and responses will inevitably affect the

deadline by which to depose plaintiff, and the deadline for

completion of discovery generally. [Doc. #59]. As the Court

expressed at the conference, the Court hesitates to grant the

requested extensions, as it is not confident that additional

time will result in full compliance by the plaintiff.

Furthermore, the Court has previously warned the parties that

future extensions would not be granted. However, in order to

avoid the disposition of this case other than on the merits, the

Court will reluctantly GRANT, in part, plaintiff’s oral motion

for extension of the scheduling order deadlines [Doc. #59], as

set forth below.

2. Amended Scheduling Order

     In light of the Court’s ruling above, the Court sets the

following amended pretrial deadlines:

          December 1, 2015, for counsel to complete an in-person

           meet and confer regarding the parties’ discovery

           requests and responses at issue in the November 4,

           2015, joint status report;

          December 21, 2015, for plaintiff to propound any

           amended written discovery;



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          January 4, 2016, for plaintiff to serve her amended

           responses (including documents organized in a usable

           manner, and numbered) to defendant’s May 2015 written

           discovery requests;

          January 4, 2016, for defendant to re-issue the notice

           of plaintiff’s deposition;

          January 20, 2016, for defendant to serve its amended

           responses (including documents and a privilege log, if

           applicable) to plaintiff’s written discovery requests;

          February 1, 2016, for the completion of plaintiff’s

           deposition; and

          April 1, 2016, for the filing of dispositive motions.

    The Court notes that it appears that the parties have not

previously exchanged the materials required by the Initial

Discovery Protocol. [Doc. #7] These materials, which were

required to be exchanged within 30 days of the filing of an

Answer or responsive pleading, that is, on or before May 9,

2015, at the very latest in this case, include many of the items

sought by the parties’ disputed requests. See, e.g., Doc. #7,

Item III(2)(a) (“All communications concerning the factual

allegations or claims at issue in this lawsuit between the

plaintiff and the defendant.”); Item IV(2)(d) (“The plaintiff’s

personnel file[.]”). The parties shall comply fully with the



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Initial Discovery Protocol ordered by the Court on or before

December 11, 2015. The parties shall also ensure that they have

complied fully with Rule 26(a) of the Federal Rules of Civil

Procedure governing initial disclosures on or before December

11, 2015. The parties shall file separate reports with the Court

on or before December 14, 2015, confirming that they have

provided the disclosures required of them under the Protocol and

the Rule, and that they have received the opposing party’s

disclosures under the same.

    The parties are advised that agreements regarding

particular deadlines will not constitute extensions of those

deadlines, and that the Court will not be bound by any informal

agreements of the parties. The Court expects counsel and the

plaintiff to continue to pursue this matter in a timely fashion.

No further extensions of these deadlines shall be granted.

    As discussed on the record during the November 19, 2015,

case management and discovery status conference, plaintiff’s

failure to timely and substantively comply with the above

deadlines WILL result in the dismissal of the Complaint.

    In light of the continuing discovery issues in this case,

going forward the Court will schedule bi-weekly telephone

conferences to address the status of discovery compliance. The

first of these conferences will take place on Thursday, December



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3, 2015, at 10:00 a.m. A separate calendar with dial-in

instructions will issue forthwith.

    The parties are encouraged to contact chambers to schedule

a settlement conference, should it become productive to do so.

    This is not a Recommended Ruling. This is an order

regarding discovery and case management which is reviewable

pursuant to the “clearly erroneous” statutory standard of

review. 28 U.S.C. §636(b)(1)(A); Fed. R. Civ. P. 72(a); and D.

Conn. L. Civ. R. 72.2. As such, it is an order of the Court

unless reversed or modified by the district judge upon motion

timely made.

    SO ORDERED at New Haven, Connecticut this 20th day of

November 2015.


                                      /s/
                                  HON. SARAH A. L. MERRIAM
                                  UNITED STATES MAGISTRATE JUDGE




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